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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                Civil Action No. 9:21-cv-81878

  PREPARED FOOD PHOTOS, INC.,
  f/k/a ADLIFE MARKETING &
  COMMUNICATIONS CO., INC.

         Plaintiff,

  vs.

  DD BUFFALO, LLC d/b/a
  BUFFALO RUN RANCH,

        Defendant.
  _________________________________/

                 DEFENDANT’S ANSWER AND AFFIRMATIVE DEFENSES

         Defendant, DD Buffalo, LLC d/b/a Buffalo Run Ranch (“Buffalo”) hereby answers the

  Complaint (“Complaint”) of Prepared Food Photos, Inc. f/k/a Adlife Marketing &

  Communications Co, Inc. (“PFP”) as follows:

                                         FIRST DEFENSE

         Plaintiff’s Complaint fails to state a claim against Buffalo upon which relief can be granted.

                                        SECOND DEFENSE

         Answering the numbered allegations of the Complaint, Buffalo admits, denies, and

  otherwise alleges as follows:

         1.      Buffalo is without information or knowledge sufficient to form a belief as to the

  allegations in paragraph 1 of the Complaint and therefore denies the same.

         2.      Buffalo admits the allegations in paragraph 2 of the Complaint.

                                  JURISDICTION AND VENUE
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         3.     Buffalo admits the allegations in paragraph 3 of the Complaint.

         4.     Buffalo denies the allegations in paragraph 4 of the Complaint.

         5.     Buffalo denies the allegations in paragraph 5 of the Complaint.

                                              FACTS

         6.     Buffalo is without information or knowledge sufficient to form a belief as to the

  allegations in paragraph 6 of the Complaint and therefore denies the same.

         7.     Buffalo is without information or knowledge sufficient to form a belief as to the

  allegations in paragraph 7 of the Complaint and therefore denies the same.

         8.     Buffalo is without information or knowledge sufficient to form a belief as to the

  allegations in paragraph 8 of the Complaint and therefore denies the same.

         9.     Buffalo is without information or knowledge sufficient to form a belief as to the

  allegations in paragraph 9 of the Complaint and therefore denies the same.

         10.    Buffalo is without information or knowledge sufficient to form a belief as to the

  allegations in paragraph 10 of the Complaint and therefore denies the same.

         11.    Buffalo is without information or knowledge sufficient to form a belief as to the

  allegations in paragraph 11 of the Complaint and therefore denies the same.

         12.    Buffalo is without information or knowledge sufficient to form a belief as to the

  allegations in paragraph 12 of the Complaint and therefore denies the same.

         13.    Buffalo is without information or knowledge sufficient to form a belief as to the

  allegations in paragraph 13 of the Complaint and therefore denies the same.

         14.    Buffalo admits the allegations in paragraph 14 of the Complaint.

         15.    Buffalo admits the allegations in paragraph 15 of the Complaint.



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          16.     Buffalo admits that the Work, as defined in the Complaint, was published on its

  website, but asserts that said image was obtained and added to the website by a third party.

          17.     Buffalo is without knowledge or information sufficient to form a belief as to the

  allegations in paragraph 17 and therefore denies the same.

          18.     Buffalo admits that it is not licensed to use of display the Work, but denies the

  remaining allegations in paragraph 18 of the Complaint.

          19.     Buffalo admits that the Work was used on its commercial website.

          20.     Defendant denies the allegations in paragraph 20 of the Complaint.

          21.     Buffalo is without information or knowledge sufficient to form a belief as to efforts

  taken by Plaintiff related to the use of the Work set forth in paragraph 21 of the Complaint and

  denies the remaining allegations in paragraph 21 of the Complaint.

          22.     Buffalo denies the allegations in paragraph 22.

                                               COUNT I

          23.     Buffalo incorporates by reference its responses to the preceding paragraphs as if

  fully set forth herein.

          24.     Buffalo is without knowledge or information sufficient to form a belief as to the

  allegations in paragraph 24 of the Complaint and therefore denies the same.

          25.     Buffalo is without knowledge or information sufficient to form a belief as to the

  allegations in paragraph 25 of the Complaint and therefore denies the same.

          26.     Buffalo is without knowledge or information sufficient to form a belief as to the

  allegations in paragraph 26 of the Complaint and therefore denies the same.

          27.     Buffalo is without knowledge or information sufficient to form a belief as to the

  allegations in paragraph 27 of the Complaint and therefore denies the same.

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         28.     Buffalo is without knowledge or information sufficient to form a belief as to the

  allegations in paragraph 28 of the Complaint and therefore denies the same.

         29.     Buffalo denies the allegations in paragraph 29 of the Complaint.

         30.     Buffalo denies the allegations in paragraph 30 of the Complaint.

         31.     Paragraph 31 of the Complaint asserts legal conclusions which do not require a

  response. To the extent there are factual allegations in paragraph 31, Buffalo denies the same.

         32.     Paragraph 32 of the Complaint asserts legal conclusions which do not require a

  response. To the extent there are factual allegations in paragraph 32, Buffalo denies the same.

         33.     Paragraph 33 of the Complaint asserts legal conclusions which do not require a

  response. To the extent there are factual allegations in paragraph 33, Buffalo denies the same.

         34.     Buffalo denies the allegations in paragraph 34 of the Complaint.

                                         THIRD DEFENSE

         35.     Buffalo denies each and every allegation of the Complaint that is not specifically

  admitted herein.

                                        FOURTH DEFENSE

         36.     The relief requested in the Complaint should be denied and the Complaint should

  be dismissed with prejudice, in whole or part, to the extent that any injury or damages sustained

  by Plaintiff were solely caused or contributed to by the fault or breach of other parties, said fault

  or breach exceeding that of Buffalo, if any.

                                          FIFTH DEFENSE

         37.     Discovery in this case may reveal additional defenses required by the Rules of Civil

  Procedure to be pled affirmatively. Buffalo hereby incorporates each such defense by reference

  and reserves the right to amend this answer to specifically assert such defenses if they are

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  discovered.

                                          SIXTH DEFENSE

         38.     The Complaint and each purported cause of action contained therein are barred to

  the extent Plaintiff seeks relief for conduct occurring outside the applicable statutes of limitation.

                                        SEVENTH DEFENSE

         39.     The Complaint and each purported cause of action contained therein are barred

  because Plaintiff by its words and actions has waived its claims and is estopped to assert the matters

  alleged therein.

                                         EIGHTH DEFENSE

         40.     The Complaint and each purported cause of action contained therein are barred

  because Plaintiff’s actions or inactions contributed to or created the damage allegedly suffered.

                                          NINTH DEFENSE

         41.     The relief requested should be denied and the Complaint should be dismissed with

  prejudice as against Buffalo, in whole or in part, to the extent that Plaintiff’s claims are barred

  because they are without merit and not brought or asserted in good faith.

                                          TENTH DEFENSE

         42.     The relief requested in the Complaint should be denied and the Complaint should

  be dismissed with prejudice as against Buffalo, in whole or in part, to the extent that Plaintiff’s

  claims are barred by the Statute of Frauds.

                                       ELEVENTH DEFENSE

         43.     The relief requested in the Complaint should be denied and the Complaint should

  be dismissed with prejudice as against Buffalo, in whole or in part, as there was no infringement

  and/or copying of the Work, if any, created de minimis damage.

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                                        TWELFTH DEFENSE

         44.       The relief requested in the Complaint should be denied and the Complaint should

  be dismissed with prejudice as against Buffalo, in whole or in part, as the use of the Mark, if any,

  was Fair Use.

                                      THIRTEENTH DEFENSE

         45.       The relief requested in the Complaint should be denied and the Complaint should

  be dismissed with prejudice as against Buffalo, in whole or in part, as the use of the Mark, if any,

  was innocent infringement without Buffalo having any knowledge or reason to believe the image

  was protected.

                                      FOUTEENTH DEFENSE

         46.       Defendant cannot fully anticipate at this time all defenses that may be applicable.

  Accordingly, Defendant reserves the right to assert additional defenses if, and to the extent, such

  defenses may later become available or apparent. Further, Defendant reserves the right to withdraw

  any defenses that it subsequently determines to be inapplicable. Nothing stated in the foregoing

  defenses constitutes a concession that Defendant bears any burden of proof on any issue on which

  it would not otherwise bear such burden.

     WHEREFORE, Defendant Buffalo prays:

     That the requested relief be denied, that Defendant, DD Buffalo, LLC d/b/a Buffalo Run, be

  awarded its attorneys' fees and costs of suit, and for such other and further relief as the Court deems

  just and proper.

         DATED this 11th day of November, 2021.

                                                           /s/ W. John Eagan
                                                           W. John Eagan
                                                           Florida Bar No. 105,101

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                                            (Pro Hac Vice Application to be Submitted)




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